 

IN THE UNITED sTATEs olsTRlcT COURT 95 mg -f,~ pg 2= 25

FOR THE WESTERN DISTRICT OF TENNESSEE WMA§ ;`;;_ GOULD

 

 

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)
LECTROLARM CUSTOM SYSTEMS, INC., )
)
Plaintiff, )
)
V» )
)
VICON INDUSTRIES, INC., et al. ) CIVIL NO. 03-2330 (Ma)(A)
) Judge Mays
Defendants. ) Magistrate Judge Anderson
)
)
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Before the Court is Plaintiff Lectrolarm Custom Systems, lnc.'s unopposed motion
for leave to file a sur-reply brief in opposition to Defendant GE Interlogix, Inc.’s reply brief in
support of its motion to compel deposition testimony of Plaintiii` Lectrolarm Custom Systems,
Inc. For good cause shown, the motion is GRANTED.

IT IS SO ORDERED.

Dated: M}'_Q_, 2005
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Magistrate Judge Anderson

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